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                                        United States District Court
                                         Western District of Texas
                                               San Antonio
                                            Deficiency Notice


To:            Radner, Solomon M.
From:          Court Operations Department, Western District of Texas
Date:          Friday, August 31, 2018
Re:            05:18-CV-00680-FB / Doc # 26 / Filed On: 08/31/2018 01:42 PM CST


Pursuant to the Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases, the following pleading has been filed. However, it
is deficient in the area(s) checked below. Please correct the
deficiency(ies), as noted below, and re-file document IMMEDIATELY.
When re-filing document, other than a motion, please ensure you add
‘corrected’ to the docket text. If the document you are re-filing is a
motion, select ‘corrected’ from the drop-down list.

If an erroneous filing results in failure to meet a deadline, you will need to seek
relief, for any default, from the presiding judge.
(1) Other
   Remarks: Proposed order required. DO NOT re-file entire document. Please file ONLY the proposed order using
the "Attachment" event from menu and link the proposed order to this document. See page 10, item 9d of the
Administrative Policies.
